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at_-20 o'clock M

 

DEC 02 2021
United States Backruptcy Court
UNITED STATES BANKRUPTCY COURT Albuquerque, New Mexico
DISTRICT OF NEW MEXICO

In re:
Joa! Alan Gaffney Case No.

Debtor.

CERTIFICATION/STATEMENT REGARDING MARITAL STATUS

Pursuant to NM LBR 1002-1, J certify that:
EITHER (CHOOSE ONLY ONE)

I have no spouse;
OR

T have a non-filing spouse, whose name is .
To the best of my knowledge, information and belief, the last four digits of my spouse’s social
security number are and my spouse's mailing address is:

 

 

 

I declare under penalty of perjury that this information is true and correct.

Petor's signature “ee Lo

ame: Joel Alan Gaffney

Address: 4200 Montgomery Bivd NE Apt 208
Albuquerque, NM 87109

Telephone: (505)261-7157

Email: joel.alan.gafiney@gmail.com

 

NM LF 1002-1

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